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                       UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION




JUANA ESPINOZA,                            )
                                           )               CIVIL ACTION NO.
             Petitioner,                   )
                                           )               3:05-CV-1380-G
VS.                                        )
                                           )               CRIMINAL ACTION NO.
UNITED STATES OF AMERICA,                  )
                                           )               3:97-CR-257(03)-G
             Respondent.                   )




                               OPINION AND ORDER

      After making an independent review of the pleadings, files and records in this

case, and the findings, conclusions and recommendation of the United States

Magistrate Judge, I am of the opinion that the findings and conclusions of the

Magistrate Judge are correct and they are adopted as the findings and conclusions of

the court.

      It is, therefore, ORDERED that the findings, conclusions and

recommendation of the United States Magistrate Judge are adopted.


August 10, 2005.
